      Case 20-20228-CMB                        Doc 124         Filed 02/28/25 Entered 02/28/25 11:03:02                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              WILLIAM M. ROLLEY


     Debtor 2              TRACEY LYNN ROLLEY
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-20228CMB




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 PENNYMAC LOAN SERVICES LLC                                                      36-2

 Last 4 digits of any number you use to identify the debtor's account                         8   0   9   4

 Property Address:                             319 DREXEL DR
                                               MONROEVILLE PA 15146




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        1,109.15

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        1,109.15

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        1,109.15



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $     $1,050.39
         The next postpetition payment is due on                 4 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     WILLIAM M. ROLLEY                                                Case number (if known) 20-20228CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    02/28/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     WILLIAM M. ROLLEY                                         Case number (if known) 20-20228CMB
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
02/22/2021 1188640      PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         244.30
03/26/2021 1191946      PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         864.85
                                                                                                                 1,109.15

MORTGAGE REGULAR PAYMENT (Part 3)
04/27/2020   1157675    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       2,584.01
05/26/2020   1161008    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         811.69
06/26/2020   1164168    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,625.34
07/29/2020   1167267    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,047.74
08/25/2020   1170345    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,178.71
09/28/2020   1173444    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,075.37
10/26/2020   1176534    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,150.26
11/24/2020   1179599    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,220.45
12/21/2020   1182538    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         299.45
01/25/2021   1185515    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       2,253.39
02/22/2021   1188640    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,094.21
04/26/2021   1195190    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       2,046.56
05/25/2021   1198301    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
06/25/2021   1201491    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
07/26/2021   1204693    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
08/26/2021   1207833    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
09/24/2021   1210936    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
10/25/2021   1214014    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
11/22/2021   1217047    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
12/23/2021   1220130    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
01/26/2022   1223189    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
02/23/2022   1226064    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,023.63
03/25/2022   1229029    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,047.39
04/26/2022   1232075    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
05/25/2022   1235118    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
06/27/2022   1238150    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
07/26/2022   1241081    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
08/24/2022   1243974    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
09/27/2022   1246843    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
10/25/2022   1249652    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
11/23/2022   1252439    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
12/22/2022   1255185    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
01/26/2023   1257924    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
02/23/2023   1260515    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,035.51
04/25/2023   1266113    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       2,026.65
05/25/2023   1268981    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
06/26/2023   1271879    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
07/25/2023   1274622    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
08/25/2023   1277401    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
09/26/2023   1280131    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
10/25/2023   1282844    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
11/27/2023   1285522    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
12/21/2023   1288101    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
01/26/2024   1290792    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
02/26/2024   1293436    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
03/26/2024   1296088    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
04/25/2024   1298750    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
05/29/2024   1301457    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
06/25/2024   1303988    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,020.72
07/25/2024   1306594    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,228.86
08/26/2024   1309158    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,055.41
09/25/2024   1311752    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,055.41
10/25/2024   1314276    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,055.41
11/25/2024   1316840    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,055.41
12/23/2024   1319232    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,055.41
01/28/2025   1321732    PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       2,110.82
                                                                                                                63,994.94


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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

WILLIAM M. ROLLEY
TRACEY LYNN ROLLEY
319 DREXEL DRIVE
MONROEVILLE, PA 15146

SCOTT R LOWDEN ESQ**
100 HEATHMORE AVE
PITTSBURGH, PA 15227

PENNYMAC LOAN SERVICES LLC
PO BOX 660929
DALLAS, TX 75266-0929

PENNY MAC LOAN SERVICES LLC
PO BOX 2410
MOORPARK, CA 93020

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




2/28/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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